                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO




 UNITED STATES OF AMERICA
    Plaintiff,                                     Criminal no. 22-213 (ADC)
 v.

 RUBÉN FIGUEROA RODRÍGUEZ (18)
 Defendant.

            INFORMATIVE MOTION AND A REQUEST FOR CONTINUANCE
TO THE HONORABLE COURT:

       Comes now the defendant, Mr. Figueroa Rodríguez, and respectfully states and prays as

follows:

   1. On May 22, 2023, at the petition of counsel, the Court rescheduled Mr. Figueroa Rodríguez’s

       change of plea hearing for June 1, 2023. (See Docket Entry #797)

   2. At the status conference held on that date, the undersigned advised the Court that since Mr.

       Figueroa Rodríguez was detained at Guayama 1000, and that legal visitation and legal calls are

       only possible through appointment, there was a possibility that the logistics involved would

       require more time than if he were detained at MDC-Guaynabo.

   3. To address that concern, the Court requested that if additional time was necessary, Mr.

       Figueroa Rodríguez should file an informative motion and request additional time. The parties

       agreed on a tentative date of June 5, 2023, to hold this alternate date for his change of plea

       hearing. (See Docket Entry #797)

   4. The undersigned visited Mr. Figueroa Rodríguez on Thursday May 25, 2023, at Guayama 1000.

       After the meeting, he requested time to discuss the plea agreement with this family, and agreed

       to discuss it again on Monday, May 29, 2023.
   5. Because Guayama 1000 does not have legal visits nor legal calls on weekends nor on holidays,

          the undersigned was able to contact Mr. Figueroa Rodríguez today, May 30, 2023.

   6. Mr. Figueroa Rodríguez informed that he wishes to address some matters in the language of

          the plea agreement before his change of plea hearing, which requires the undersigned to engage

          with the government to resolve the matter.

   7. Although the undersigned has preliminarily discussed the matter with AUSA Cordero, and the

          parties are scheduling a meeting with her Supervising AUSA, Guayama 1000’s next available

          dates for a legal call with Mr. Figueroa Rodríguez are on Thursday June 1, 2023, or Friday June

          2, 20223.

   8. Because additional time is needed to resolve the issues presented, it is necessary to request that

          the change of plea hearing be continued to the already selected date of June 5, 2023. (See

          Docket Entry #550)

   9. The undersigned has discussed this motion with AUSA Cordero, who has informed that she

          has no objection to the request for a continuance.

          WHEREFORE, Mr. Figueroa Rodríguez respectfully requests that the information herein is

noted and that the Court grants a brief advance or continuance for the sentencing hearing.

          RESPECTFULLY SUBMITTED.

   In San Juan, Puerto Rico, this 15th day of May 2023.

          I HEREBY CERTIFY, that on this date the present document has been filed electronically

and is available for viewing and downloading from the Court’s CFM/ECF system by U.S. Attorney’s

Office.


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